          Case 3:23-cr-00011-HZ        Document 1        Filed 01/10/23    Page 1 of 4

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                           UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                   PORTLAND DIVISION


 UNITED STATES OF AMERICA                         3:23-cr-00011-HZ

               v.                                 INDICTMENT

                                                  21 U.S.C. § 841(a)(l), 841(b)(l)(A),
 CARLOS PEREZ-RAMIEREZ,                           (b)(l)(B), (b)(l)(C)
 and                                              18 U.S.C. § 924(c)(l)(A)

 OSIRIS AGUILAR,                                  Forfeiture Allegations

               Defendants.
                              THE GRAND JURY CHARGES:

                                         COUNT l
                     (Possession with the Intent to Distribute Fentanyl)
                            (21 U.S.C. § 841(a)(l), (b)(l)(A)(vi))

       On or about December 31, 2022, in the District of Oregon, CARLOS PEREZ­

RAMIEREZ, defendant herein, did knowingly and intentionally possess with the intent to

distribute 400 grams or more of a mixture or substance containing a detectable amount of

fentanyl (N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide, a Schedule II controlled

substance;

       In violation of Title 21, United States Code, Section 841(a)(l) and (b)(l)(A)(vi).


Indictment                                                                                  Page 1
          Case 3:23-cr-00011-HZ          Document 1       Filed 01/10/23      Page 2 of 4




                                           COUNT 2
                 (Possession with the Intent to Distribute Methamphetamine)
                             (21 U.S.C. § 841(a)(l), (b)(l)(B)(viii))

        On or about December 31, 2022, in the District of Oregon, in the District of Oregon,

CARLOS PEREZ-RAMIEREZ, defendant herein, did knowingly and intentionally possess

with the intent to distribute 50 grams or more of a mixture or substance containing a detectable

amount of methamphetamine, a Schedule II controlled substance;

        In violation of Title 21, United States Code, Section 841(a)(l) and (b)(1)(B)(viii).

                                           COUNT3
                        (Possession with the Intent to Distribute Heroin)
                              (21 U.S.C. § 841(a)(l) and (b)(l)(C ))

       On or about December 31, 2022, in the District of Oregon, in the District of Oregon,

CARLOS PEREZ-RAMIEREZ, defendant herein, did knowingly and intentionally possess

with the intent to distribute a mixture or substance containing a detectable amount of heroin, a

Schedule I controlled substance;

       In violation of Title 21, United States Code, Section 841(a)(l) and (b)(l)(C).

                                         COUNT 4
             (Possession of Firearm in Furtherance of a Drug Trafficking Crime)
                                  (18 U.S.C. § 924(c)(l)(A))

       On or about December 31, 2022, in the District of Oregon, CARLOS PEREZ­

RAMIEREZ, defendant herein, did knowingly possess a firearm to wit: a Springfield Hellcat

9mm handgun , in furtherance of a drug trafficking crime for which he may be prosecuted in a

court of the United States, that is possession with the intent to distribute the controlled

substances as alleged in Count 1 of this indictment;

       In violation of Title 18, United States Code, Section 924(c)(1)(A).

Indictment                                                                                     Page 2
          Case 3:23-cr-00011-HZ         Document 1       Filed 01/10/23     Page 3 of 4




                                            COUNTS
                       (Possession with the Intent to Distribute Fentanyl)
                              (21 U.S.C. § 841(a)(l), (b)(l)(A)(vi))

        On or about January 1, 2023, in the District of Oregon, OSIRIS AGUILAR, defendant

herein, did knowingly and intentionally possess with the intent to distribute 400 grams or more

of a mixture or substance containing a detectable amount of fentanyl (N-phenyl-N-[1-(2-

phenylethyl)-4-piperidinyl] propanamide, a Schedule II controlled substance;

       In violation of Title 21, United States Code, Section 841(a)(l ) and (b)(l)(A)(vi).

                            FIRST FORFEITURE ALLEGATION

       Upon conviction of any of the controlled substance offenses as alleged in Counts 1, 2, 3

and 5, of this Indictment CARLOS PEREZ-RAMIEREZ and OSIRIS AGUILAR, defendants

herein, shall forfeit to the United States, pursuant to Title 21, United States Code, Section 853,

any property constituting, or derived from, any proceeds obtained, directly or indirectly, as a

result of the said violations and any property used, or intended to be used, in any manner or part,

to commit, or to facilitate the commission of said violations, including but not limited to the

following:

       A money judgment for a sum of money equal to the amount of property representing the

amount of proceeds obtained as a result of the controlled substances distributed as alleged in

Counts 1, 2, 3 and 5 for which the defendants are jointly and severally liable.

       If any of the above-described forfeitable property, as a result, of any act or omission of

the defendants:

               (1)     cannot be located upon the exercise of due diligence;

               (2)     has been transferred or sold to, or deposited with, a third person;

               (3)     has been placed beyond the jurisdiction of the Court;

Indictment                                                                                   Page3
          Case 3:23-cr-00011-HZ         Document 1       Filed 01/10/23     Page 4 of 4




                (4)    has been substantially diminished in value; or

                (5)    has been commingled with other property which cannot be subdivided

                       without difficulty;

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C.

§ 982(b), to seek forfeiture of any other property of said defendants up to the value of the

forfeitable property described above.

                          SECOND FORFEITURE ALLEGATION

       Upon conviction for the offenses in Count 4 of this indictment, CARLOS PEREZ­

RAMIEREZ, defendant herein, shall forfeit to the United States pursuant to 18 U.S.C. § 924(d)

and 28 U.S.C. § 2461(c), the firearms and ammunition involved in those offense, including

without limitation:

       A Springfield Hellcat 9mm handgun bearing serial number BB178151.


Dated January    /0   , 2023.

                                                     A TRUE BILL.




                                                                        FOREPERSON


Presented by:




 ssistant United States Attorney


Indictment                                                                                     Page 4
